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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 JUN ..'[ pn |2= 25
Eastern Division

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CL!:F{K. U,S. DlST CT.
UNITED sTATEs 0FAMER1CA W' D‘ OF TN MCKSON

-v- Case No. 1:04cr10095-T

NICHOLAS DEANGELO MAR'I`IN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretn`al Services Office, Probation Oft'ice, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $5,000.00. This bond shall also be executed by as surety [or other solvent
surety].

0 report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment

l Abide by the following restrictions on personal association, place of abode, or t.ravel: Defendant is restricted

in residence and travel to the Western District of Tennessee.
0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

AO 199A Order Setling Conditions of Re|ease '1' ®

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0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

I Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretiial Services and pay a percentage of the fee as determined by Pretrial Services.

ADVICE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result iii the immediate issuance of a warrant for
your airest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

F ederal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witxiess, victim or iriformant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victirri1 juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than oiie year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

AO 199A Order Setting Conditions of Retease '2'

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant iii this case and that I am aware of the conditions of release. I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
l | W "‘"~

' Signature of Dll:f€'n t

Nicholas Deaugelo M?in,- § ll `
154 Brooksey Drive l S`f m
Jackson, TN 38301'"’ 53305'
(731) 668-2584

DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/ or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Ao issA order seeing conditions ar Release -3-

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:04-CR-10095 Was distributed by faX, rnail, or direct printing on
June 7, 2005 to the parties listed.

 

 

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

